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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                        Filed: December 10, 2018

* * * * * * *                   *   *    *    *   *    *
TAMMY GILBERT,                                         *                 UNPUBLISHED
                                                       *
                  Petitioner,                          *                 No. 17-35V
                                                       *
v.                                                     *                 Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *                 Joint Stipulation; Tetanus-Diphtheria
AND HUMAN SERVICES,                                    *                 (TD); Shoulder Injury Related to
                                                       *                 Vaccine Administration (SIRVA).
                  Respondent.                          *
*    * *     *    * * * *           *    *    *   *    *

Ronald C. Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Traci R. Patton, United States Department of Justice, Washington, DC, for respondent.

                                 DECISION ON JOINT STIPULATION1

        On January 9, 2017, Tammy Gilbert (“petitioner”) filed a petition for compensation in the
National Vaccine Injury Compensation Program.2 Petition (ECF No. 1). Petitioner received a
tetanus-diphtheria (“TD”) vaccination on February 11, 2014. Id. at 1. Petitioner alleged that as a
result of receiving the TD vaccination, she suffers from a shoulder injury related to vaccine
administration (“SIRVA”) with residual injuries persisting for more than six months. Id.

       On December 7, 2018, respondent filed a joint stipulation providing that a decision
should be entered awarded compensation to petitioner. Joint Stipulation (ECF No. 45).
Respondent denies that the TD vaccination caused petitioner to suffer a SIRVA or any other
condition. Id. at ¶ 6. Maintaining their respective positions, the parties nevertheless now agree

1
  Because this decision contains a reasoned explanation for the action in this case, the undersigned intends to post it
on the website of the United States Court of Federal Claims, pursuant to the E-Government Act of 2002, see 44
U.S.C. § 3501 note (2012). The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the
decision is posted on the court’s website, each party has 14 days to file a motion requesting redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). “An objecting party must provide the
court with a proposed redacted version of the decision.” Id. If neither party files a motion for redaction within 14
days, the decision will be posted on the court’s website. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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that the issues between them shall be settled and that a decision should be entered awarding
compensation to petitioner according to the terms of the joint stipulation attached hereto as
Appendix A.

       The joint stipulation awards a lump sum of $67,500.00 in the form of a check
payable to petitioner. This amount represents all damages that would be available under 42
U.S.C. § 300aa-15(a).

      I find the stipulation reasonable and I adopt it as the decision of the Court in awarding
damages, on the terms set forth therein. Accordingly, the Clerk of the Court SHALL ENTER
JUDGMENT in accordance with the terms of the parties’ stipulation.3

         IT IS SO ORDERED.
                                                                         s/Thomas L. Gowen
                                                                         Thomas L. Gowen
                                                                         Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties jointly or separately filing notice
renouncing their right to seek review.


                                                           2
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